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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


BARBARA J. LEE et al.,
                    Plaintiffs,
             v.                         Case No. 21-cv-00400 (APM)
DONALD J. TRUMP et al.,                 (lead case)
                    Defendants.

ERIC SWALWELL,
                    Plaintiff,
             v.                         Case No. 21-cv-00586 (APM)
DONALD J. TRUMP et al.,                 (consolidated case)
                    Defendants.

JAMES BLASSINGAME et. al.,
                    Plaintiffs,
             v.                         Case No. 21-cv-00858 (APM)
DONALD J. TRUMP,                        (consolidated case)
                    Defendant.

CONRAD SMITH et al.,
                    Plaintiffs,
             v.                         Case No. 21-cv-02265 (APM)
DONALD J. TRUMP et al.,                 (consolidated case)
                    Defendants.

MARCUS J. MOORE et al.,
                    Plaintiffs,
             v.                         Case No. 22-cv-00010 (APM)
DONALD J. TRUMP,                        (consolidated case)
                    Defendant.
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  BOBBY TABRON et al.,
                          Plaintiffs,
                                                       Case No. 22-cv-00011 (APM)
                  v.
                                                       (consolidated case)
  DONALD J. TRUMP,
                          Defendant.

  BRIANA KIRKLAND,
                          Plaintiff,
                                                       Case No. 22-cv-00034 (APM)
                  v.
                                                       (consolidated case)
  DONALD J. TRUMP,
                          Defendant.

  SANDRA GARZA,
                          Plaintiff,
                                                       Case No. 23-cv-00038 (APM)
                  v.
                                                       (consolidated case)
  DONALD J. TRUMP et al.,
                          Defendants.


        JOINT MOTION TO EXTEND THIRD-PARTY DEPOSITION DEADLINES

       WHEREAS, the current deadline for the completion of immunity-related discovery is

October 28, 2024, see Minute Order entered September 9, 2024;

       WHEREAS, the parties collectively wish to depose three third-party witnesses who are

actively involved in the 2024 presidential election;

       WHEREAS, those witnesses have represented that they will be unable to sit for depositions

until the 2024 election has been concluded;

       The parties respectfully request that the Court extend the deadline for taking immunity-

related depositions to December 4, 2024 (while leaving the October 28 discovery deadline intact

for all other intents and purposes).



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Dated: October 24, 2024                                 Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I certify that on October 24, 2024, a true and correct copy of “Joint Motion to Extend
Third-Party Deposition Deadlines” was served on counsel of record by the Clerk of the Court
through the CM/ECF system.



                                           /s/ Joseph M. Sellers




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